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EXHIBIT A
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                        Annual Franchise Tax Report
CHANNELREPLY INC.                                                                         2017
6427452    2017/05/30

100 STERLING PL APT 1                                                           (646)878-9184
BROOKLYN, NY 11217


THE COMPANY CORPORATION                                                               9018442
251 LITTLE FALLS DRIVE
WILMINGTON DE 19808




2017/05/30                COMMON                10,000,000      .0000100000




 DAVID    GITMAN                       100 STERLING PL APT 1                       PRESIDENT
                                       BROOKLYN, NY 11217




DAVID     GITMAN                       100 STERLING PL APT 1
                                       BROOKLYN, NY 11217




DAVID GITMAN                                                   2017/06/20     PRESIDENT
100 STERLING PL APT 1
BROOKLYN, NY 11217 US
            Case 1:17-cv-04327-LLS-RWL Document 27-1 Filed 06/21/17 Page 3 of 3



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CHANNELREPLY INC.                                                                     2017

6427452   82-173048




                         2017/06/19   2017/06/20




      5,000,000                   $0.00                                      2017/06/20




  $350.00               $0.00         $0.00                  $50.00        $0.00




  $0.00                $400.00                $400.00
